Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 1 of 66. PageID #: 1249




                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

UNITED STATES OF AMERICA,                     )       CASE NO.: 1:05CR303
                                              )
        Plaintiff,                            )       JUDGE JOHN ADAMS
                                              )
v.                                            )       FINDINGS OF FACT AND
                                              )       CONCLUSIONS OF LAW
RHONDA J. TURPIN,                             )
                                              )
        Defendant.                            )
                                              )

                                    INTRODUCTION

        This matter came before this Court for a bench trial from August 30 through

September 14, 2006. When there is a bench trial in a criminal matter, under Federal Rule

of Criminal Procedure 23(c) the Court must make its specific findings of fact in open

court or in a written decision or opinion only when a party requests such before the

verdict is rendered. However, no such request was made by the Defendant. Regardless

of the failure to make such a request, the Court finds itself compelled to enter the

following Findings of Fact and Conclusions of law to supplement the already rendered

verdicts made on the record. It is noted that the Court has taken a period of time in the

issuance of this Opinion due to the complex nature of the case and the numerous volumes

of transcripts from the trial.

                                 PROCEDURAL HISTORY

        An Indictment was originally filed on June 22, 2006, charging Defendant Rhonda

J. Turpin (“Defendant”), along with others, with the following offenses against the

United States of America: Count 1 - conspiracy in violation of 18 U.S.C. § 371; Counts 2

through 16 and 21 through 27 - making, uttering and possessing and the aiding and
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 2 of 66. PageID #: 1250




abetting of making, uttering and possessing counterfeit or forged securities of an

organization in violation of 18 U.S.C. § 513(a) and 2; Count 28 - fraud and related

activity in connection with access devices in violation of 18 U.S.C. § 1029(a)(5) and 2;

Counts 29 and 30 - bank fraud in violation of 18 U.S.C. § 1344 and 2; Count 31 - identity

theft in violation of 18 U.S.C. § 1028(a)(7) and 2; Count 32 - possession of identification

document-making implements in violation of 18 U.S.C. § 1028(a)(5) and 2; Counts 33

and 34 - possession of counterfeiting implements in violation of 18 U.S.C. § 513(b) and

2; Count 35 - possession of identification document-making implements in violation of

18 U.S.C. § 1028(a)(5) and 2; Count 36 - conspiracy to submit false claims in violation of

18 U.S.C. § 286; Counts 37 through 60 - false claims in violation of 18 U.S.C. § 287 and

2; and Count 61 - identity theft in violation of 18 U.S.C § 1028(a)(7) and 2. The

Indictment also seeks forfeiture pursuant to 18 U.S.C. § 982(a)(2)(A) and (B) of various

items seized from the Defendant’s real property located at 3561-3563 Chelton Road,

Shaker Heights, Ohio and from a rental unit located at 24261 Lakeshore Blvd., Apt. 1150

Euclid, Ohio which the Plaintiff United States of America (the “Government”) alleges

constitutes or is derived from proceeds obtained directly or indirectly as a result of the

above-referenced violations of federal criminal law.

         All of the co-defendants pleaded guilty to various charges. Defendant waived

her right to trial by jury in writing on August 8, 2006; the Government consented, and the

Court approved same as required by Fed. R. Crim. P. 23, allowing the case to be tried by

the Court.

       The trial in this case was held from August 30, 2006 through September 14, 2006.

After completion of the evidence, the parties submitted their closing arguments by way of




                                              2
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 3 of 66. PageID #: 1251




written briefs. (ECF Docs. #170, 171 and 175). On December 12, 2006, the Court

entered, on the record, the following verdicts as to Defendant: guilty of Counts 1-9, 11-

16, 21, 26-56, and 58-61; Count 10 dismissed upon motion by the Government; not guilty

of Counts 22-25 and 57. The Court, having considered the testimony, exhibits and

stipulations of the parties renders its verdict and in accordance with Rule 23 of the

Federal Rules of Criminal Procedure and sets forth its specific findings of fact and

conclusions of law in this Opinion.

                                       DISCUSSION

       In order to find Defendant guilty on Count 1, the Government must prove beyond

a reasonable doubt that Defendant violated 18 U.S.C. § 371. That statute states in

pertinent part:

       If two or more persons conspire either to commit any offense against the
       United States, or to defraud the United States, or any agency thereof in any
       manner or for any purpose, and one or more of such persons do any act to
       effect the object of the conspiracy . . . [they have committed a crime
       against the United States.]


       At trial, Judy Elersic testified that Defendant recruited her to engage in fraudulent

transactions with various financial institutions. Elersic met Defendant through a mutual

acquaintance in June of 2002. (Transcript, Vol. 1, p. 149). At that time, Elersic was

addicted to crack cocaine. Id. at 153. Defendant originally was interested in having

Elersic use stolen credit cards and checks to fraudulently obtain money from financial

institutions. Id. at 151. At one time, a man by the name of “Tut” rode with the two and

went into buildings to steal a wallet or purse to obtain that person’s personal identifier

information. Id. at 152-153) A few months later, the relationship changed wherein they

would use stolen personal identifier information to obtain fraudulent loans from financial



                                              3
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 4 of 66. PageID #: 1252




institutions. Id. at 154. The specific occurrences of these transactions will be discussed

in more detail later in this Order.

       Notwithstanding the fact that Elersic testified in consideration of favorable

treatment by the Government and her prior criminal record the Court credits her

testimony.

       At trial, Candice Keene testified that she originally met with Defendant in an

attempt to make some fast money. Id. at 70. Keene, Defendant, and another individual

would travel to an office building where the other individual would steal the wallet or

purse of another, obtaining a driver’s license, checkbook or other identification. Id. at 72.

Keene filled out one of the stolen checks and cashed it at the bank because she looked

like the picture on the individual’s driver’s license. Id. The three split the proceeds. Id.

Additionally, Defendant provided Keene with another’s personal identification

information for the purpose of obtaining a fraudulent loan. Id. at 76-77. Defendant

instructed Keene how to apply for fraudulent loans and when Keene was actually on the

phone applying for the loan, if she had questions or was unsure about what was being

asked, she would write down the question for Defendant and Defendant would instruct

her as to how to proceed. Id. at 77. Defendant provided Keene with a credit report of the

person to whose name was to be used in obtaining the fraudulent loan. Id. Defendant

also provided Keene with her cellular phone number for use as the contact number with

the bank. Id. at 79. Defendant also provided Keene with a driver’s license in the name of

the person whom the loan was being made to with Keene’s picture. Id. at 78-79.

Defendant also told Keene to ask at the financial institution what bank she should take

the check to, to get cashed. Id. at 80. Finally, the proceeds from the fraudulent loans




                                              4
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 5 of 66. PageID #: 1253




would be paid out with one-third to Defendant, one-third to Keene, and one-third to the

person who had made the false driver’s license. Id. The specific occurrences of these

transactions will be discussed in more detail later in this Order.

       Notwithstanding the fact that Keene testified in consideration of favorable

treatment by the Government and her prior criminal record the Court credits her

testimony.

       At trial, Danny Waddell testified that he met Defendant through a friend.

(Transcript, Vol. 6, p. 875) He was attempting to get an ID because he was on the run

from an escape charge out of Illinois. Id. Waddell’s friend set up a meeting with him

and Defendant and Kathy Davie and said that they would help him to get an ID if he

would work with them cashing some checks. Id. at 875.

       Defendant and Davie did provide Waddell with a false driver’s license containing

his picture and another man’s name and personal identifier information. Id. at 880.

Waddell, with Davie’s assistance, set up charge accounts in that false name. Id. at 878.

Waddell used those accounts to purchase electronic equipment and other items. Id.

Those items were turned over to Davie to be given to Defendant. Id. at 879.

       Waddell also testified that he received personal checks from Defendant. Id. at

889. Defendant typed up the fraudulent checks at her residence. Id. at 890-91. Waddell

then would take the checks to a bank, open an account, and any starter checks, ATM

cards or paperwork was turned over to Davie who turned it over to Defendant.

(Transcript, Vol. 7, pp. 895-96) There was also an instance when Waddell took a cash

withdrawal from one of the accounts and split the proceeds with Davie. Id. at 898.




                                              5
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 6 of 66. PageID #: 1254




       Defendant later approached Waddell about taking out fraudulent personal loans at

various financial institutions in the Cleveland area. Id. at 901. Defendant provided

Waddell with an identification card with his picture on it, a credit report with the

individual’s name on it that he was to get the loan in, and Waddell would call in a loan

application in Defendant’s presence. Id. at 902. Defendant would drive Waddell to the

financial institution to obtain the loan, drive him to a suggested bank to cash the checks

and would then split the proceeds. Id. at 901-906. The specific incidents will be

discussed in greater later in this Order.

       Notwithstanding the fact that Waddell testified in consideration of favorable

treatment by the Government, his prior criminal record, and severe drug problem, the

Court credits his testimony.

       At trial, Richard Taylor testified that he met Defendant through a friend.

(Transcript, Vol. 6, p. 803-04) His friend informed him about a money making

opportunity with Defendant and when he met Defendant, she said Taylor was “perfect”

for the job. Id. at 804. Defendant discussed with Taylor that he was going to imposter

someone else and took him to a local store to have passport photos taken. Id. at 805-06.

       Within a few days, Defendant provided Taylor with a driver’s license containing

his picture and the personal identifier information of another person. Id. at 807.

Defendant drove Taylor to Columbus for the purpose of obtaining a fraudulent loan. Id.

at 809. During the trip, Defendant gave Taylor a copy of the person’s credit report that

he would be using to obtain the loan. Id. Defendant assisted Taylor in applying for the

loan and the proceeds were split just as those from other fraudulent loans discussed




                                              6
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 7 of 66. PageID #: 1255




herein. Id. at 810-20. These specific instances are discussed in more detail later in this

Order.

         Notwithstanding the fact that Taylor testified in consideration of favorable

treatment by the Government, his prior criminal record, and severe drug problem, the

Court credits his testimony.

         At trial, Jimmie Dunbar testified that he met Defendant while in Cleveland and

they discussed making money by opening up a bank account. (Transcript, Vol. 4, p. 583)

Defendant took Dunbar to banks to open a bank account in his name and other

individuals’ names. Id. at 585. Defendant provided Dunbar with the money to open the

accounts. Id. Defendant and Davie had discussed with Dunbar how to open a fraudulent

account, including memorizing that person’s personal information. Id. at 586. The two

also discussed with Dunbar how to use the starter checks to receive funds. Id. at 589-90.

Those checks were used to purchase merchandise at a variety of stores. Id. at 590-91.

These checks resulted in significant losses to the banks they were drawn from.

         Notwithstanding the fact that Dunbar testified in consideration of favorable

treatment by the Government, his prior criminal record, and severe drug problem, the

Court credits his testimony.

         At trial, Charles Griffin testified that he met Defendant and Davie through

Davie’s sister. (Transcript, Vol. 5, p. 750) He discussed with Defendant that he was to

follow Davie’s instructions. Id. at 753. Griffin received fraudulent driver’s licenses with

his picture and other person’s personal identifier information and credit reports in the

individual’s name that he was to be impersonating. Id. at 754, 756. The loan

applications were done by another individual and then Griffin would go to the financial




                                              7
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 8 of 66. PageID #: 1256




institution to obtain the loan with the fraudulent identification. Id. at 755. The proceeds

were split and distributed as the other fraudulent loans were. Id. at 764. The specifics of

these transactions will be discussed in more detail later in this Order.

       Notwithstanding the fact that Griffin testified in consideration of favorable

treatment by the Government, his prior criminal record, and severe drug problem, the

Court credits his testimony.

       At trial, Kathy Davie testified that Defendant prepared fraudulent federal tax

returns in other persons’ names in order to receive the refunds. (Transcript, Vol. 2, pp.

290-293) She detailed how this was done and where some of the fraudulent information

came from. Id. at 292-95. Davie also testified how the fraudulent check cashing scheme

and fraudulent loan scheme occurred, including the use of stolen personal information,

calling in fraudulent applications, the cashing of the checks and distribution of funds. Id.

at 300-354.

       Notwithstanding the fact that Davie testified in consideration of favorable

treatment by the Government, her significant involvement in the scheme, and prior

criminal record, the Court credits his testimony.

       Based on the evidence presented, the Court finds that the Defendant conspired

with multiple persons to defraud the Internal Revenue Service (“IRS”) and various

financial institutions throughout the State of Ohio. Therefore, it is determined that

Government has proved beyond a reasonable doubt that Defendant violated 18 U.S.C. §

371 and thus finds her GUILTY of Count 1.




                                              8
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 9 of 66. PageID #: 1257




           In order to find Defendant guilty on Counts 2 through 16, and 21 through 27, the

Government must prove beyond a reasonable doubt that Defendant violated 18 U.S.C. §

371. That statute provides in pertinent part,

           (a) Whoever makes, utters or possesses a counterfeited security of a State
           or a political subdivision thereof or of an organization, or whoever makes,
           utters or possesses a forged security of a State or political subdivision
           thereof or of an organization, with intent to deceive another person,
           organization, or government . . . [has committed an offense against the
           United States]

           Count 2 of the Indictment alleges that on September 9, 2002, in the Northern

District of Ohio, Eastern Division, Defendant, with other co-defendants, did knowingly

make, utter and possess, and knowingly aid and abet the making, uttering and possessing

a forged security from Beneficial Financial in the amount of $3,000.01, payable to Carla

G. Senn, with the intent to deceive the organization, thus affecting interstate commerce.

           At trial, Elersic testified that Defendant provided her with Carla Senn’s stolen

personal information, including a credit report and driver’s license, so that Elersic could

obtain a fraudulent loan. That information was used when Elersic called Beneficial

Financial1 in North Randall, Ohio on September 9, 2002 to obtain a fraudulent loan in the

amount of $3,000.01. Defendant was present when the call to Beneficial was placed.

Additionally, Defendant drove Elersic to Beneficial to sign the loan paper and then drove

her to the bank to cash the forged loan check. (Gov. Exhibits 1 & 2 respectively)2 The

two split the proceeds. (Transcript, Vol. I, pp. 154-57) Beneficial suffered a total loss on

the loan.




1
    The parties stipulated that Beneficial Financial was engaged in interstate commerce.
2
    The parties stipulated to the authenticity of Gov. Exhibits 1 and 2.


                                                       9
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 10 of 66. PageID #: 1258




           Based on the above, the Court finds that the Government proved beyond a

reasonable doubt that Defendant violated 18 U.S.C. § 513(a) and thus finds her GUILTY

of Count 2.

           In Count 3 of the Indictment, the Government claims that on or about September

12, 2002, in the Northern District of Ohio, Eastern Division, Defendant, with other co-

defendants, did knowingly make, utter and possess, and knowingly aid and abet the

making, uttering and possessing two forged securities from Beneficial Financial in the

amounts of $3,089.82 and $509.95, payable to Deborah T. Uber, with the intent to

deceive the organization, thus affecting interstate commerce.

           At trial, Elersic testified that Defendant provided her with Deborah Uber’s stolen

personal information, including a credit report and driver’s license, so that Elersic could

obtain a fraudulent loan. That information was used when Elersic called Beneficial

Financial in North Randall, Ohio, on September 12, 2002, to obtain a fraudulent loan in

the amount of $3,599.77. Defendant was present when the call to Beneficial was placed.

Additionally, Defendant drove Elersic to Beneficial to sign the loan paper and then drove

her to the bank to cash the forged loan check. (Gov. Exhibits 5 & 3 respectively)3 The

two split the proceeds. (Transcript, Vol. I, pp. 160-63) Beneficial suffered a total loss on

the loan. Elersic also identified her handwriting forging the endorsement on the Uber

check which was used to pay for an insurance policy. (Gov. Exhibit 4)4

           Based on the above, the Court finds that the Government proved beyond a

reasonable doubt that Defendant violated 18 U.S.C. § 513(a) and thus finds her GUILTY

of Count 3.


3
    The parties stipulated to the authenticity of Gov. Exhibits 3 and 5.
4
    The parties stipulated to the authenticity of Gov. Exhibit 4.


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Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 11 of 66. PageID #: 1259




           In Count 4 of the Indictment, the Government claims that on or about September

9, 2002, in the Northern District of Ohio, Eastern Division, Defendant, with other co-

defendants, did knowingly make, utter and possess, and knowingly aid and abet the

making, uttering and possessing a forged security from Household Finance in the amount

of $5,000.00, payable to Carla Senn, with the intent to deceive the organization, thus

affecting interstate commerce.

           At trial, Elersic testified that Defendant provided her with Carla Senn’s stolen

personal information, including a credit report and driver’s license, so that Elersic could

obtain a fraudulent loan. That information was used when Elersic called Household

Finance in Oakwood Village, Ohio, on September 9, 2002, to obtain a fraudulent loan in

the amount of $5,000.00. Defendant was present when the call to Household Finance

was placed. Additionally, Defendant drove Elersic to Household Finance to sign the loan

paper and then drove her to the bank to cash the forged loan check. (Gov. Exhibits 7 & 6

respectively)5 The two split the proceeds. (Transcript, Vol. I, pp. 163-64) Household

Finance suffered a total loss on the loan.

           Based on the above, the Court finds that the Government proved beyond a

reasonable doubt that Defendant violated 18 U.S.C. §513 (a) and thus finds her GUILTY

of Count 4.

           In Count 5 of the Indictment, the Government claims that on or about September

12, 2002, in the Northern District of Ohio, Eastern Division, Defendant, with other co-

defendants, did knowingly make, utter and possess, and knowingly aid and abet the

making, uttering and possessing a forged check from Citi Financial in the amount of



5
    The parties stipulated to the authenticity of Gov. Exhibits 6 and 7.


                                                        11
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 12 of 66. PageID #: 1260




$5,000.06, payable to Jean Stutzman, with the intent to deceive the organization, thus

affecting interstate commerce.

           At trial, Candice Keene testified that Defendant provided her with Jean

Stutzman’s stolen personal information, including a credit report, driver’s license and pay

stub (Gov. Exhibit 9), so that Keene could obtain a fraudulent loan. That information

was used when Keene called Citi Financial in North Randall, Ohio, on September 12,

2002, to obtain a fraudulent loan in the amount of $5,000.06. Defendant was present

when the call to Citi Financial was placed. Additionally, Defendant drove Keene to Citi

Financial to sign the loan paper and then drove her to the bank to cash the forged loan

check. (Gov. Exhibits 10 & 8 respectively)6 The two split the proceeds. (Transcript,

Vol. I, pp. 81-86) Citi Financial suffered a total loss on the loan.

           During the execution of the March 20, 2003, search warrant by the Secret Service,

at Defendant’s residence at 3561/3563 Chelton Road, Shaker Heights, Ohio, Stutzman’s

personal information was discovered on a piece of paper in Defendant’s handwriting.

(Transcript, Vol. p. 25) During a later search on August 13, 2004, at Apt. 1150

Watergate, a credit card in Stutzman’s name was also discovered by the Secret Service.

(Gov. Exhibits 122 & 314)

           Thomas Weber of Citi Financial testified to the authenticity of Gov. Exhibits 8, 9,

and 10, that Citi Financial engaged in interstate commerce and suffered a total loss on the

loan. (Transcript, Vol. IV, p. 554)

           Based on the above, the Court finds that the Government proved beyond a

reasonable doubt that Defendant violated 18 U.S.C. § 513(a) and thus finds her GUILTY

of Count 5.
6
    The parties stipulated to the authenticity of Gov. Exhibits 8 and 10.


                                                        12
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 13 of 66. PageID #: 1261




       In Count 6 of the Indictment, the Government claims that on or about September

16, 2002, in the Northern District of Ohio, Eastern Division, Defendant, with other co-

defendants, did knowingly make, utter and possess, and knowingly aid and abet the

making, uttering and possessing a forged security from Citi Financial in the amount of

$7,499.92, payable to Susan Rosenfeld, with the intent to deceive the organization, thus

affecting interstate commerce.

       At trial, Elersic testified that Defendant provided her with Susan Rosenfeld’s

stolen personal information, including a credit report and driver’s license, so that Elersic

could obtain a fraudulent loan. That information was used when Elersic called Citi

Financial in North Olmsted, Ohio, on September 16, 2002, to obtain a fraudulent loan in

the amount of $7,499.92. Defendant was present when the call to Citi Financial was

placed. Additionally, Defendant drove Elersic to City Financial to sign the loan paper

and then drove her to the bank to cash the forged loan check. (Gov. Exhibits 12 & 11

respectively) The two split the proceeds. (Transcript, Vol. I, pp. 165-166)

       Thomas Weber of Citi Financial testified to the authenticity of Gov. Exhibits 11

and 12, and that Citi Financial engaged in interstate commerce and suffered a total loss

on the loan. (Transcript, Vol. IV, p. 555-56)

       Based on the above, the Court finds that the Government proved beyond a

reasonable doubt that Defendant violated 18 U.S.C. § 513(a) and thus finds her GUILTY

of Count 6.

       In Count 7 of the Indictment, the Government claims that on or about September

19, 2002, in the Northern District of Ohio, Eastern Division, Defendant, with other co-

defendants, did knowingly make, utter and possess, and knowingly aid and abet the




                                             13
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 14 of 66. PageID #: 1262




making, uttering and possessing a forged security from American General Finance in the

amount of $5,000.00, payable to Susan Rosenfeld, with the intent to deceive the

organization, thus affecting interstate commerce.

       At trial, Elersic testified that Defendant provided her with Susan Rosenfeld’s

stolen personal information, including a credit report and driver’s license, so that Elersic

could obtain a fraudulent loan. That information was used when Elersic called American

General Finance in Richmond Heights, Ohio, on September 12, 2002, to obtain a

fraudulent loan in the amount of $5,000.00. Defendant was present when the call to

American General Finance was placed. Additionally, Defendant drove Elersic to

American General Finance to sign the loan paper and then drove her to the bank to cash

the forged loan check. (Gov. Exhibits 14 & 13 respectively) The two split the proceeds.

(Transcript, Vol. I, pp. 166-167)

       Timothy Davis testified to the authenticity of Gov. Exhibits 13 and 14, and that

American General Finance engaged in interstate commerce and suffered a total loss on

the loan. (Transcript, Vol. IV, p. 537-54)

       Based on the above, the Court finds that the Government proved beyond a

reasonable doubt that Defendant violated 18 U.S.C. § 513(a) and thus finds her GUILTY

of Count 7.

       In Count 8 of the Indictment, the Government claims that on September 20, 2002,

in the Northern District of Ohio, Eastern Division, Defendant, with other co-defendants,

did knowingly make, utter and possess, and knowingly aid and abet the making, uttering

and possessing a forged security from Beneficial Financial in the amount of $4,999.81,




                                             14
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 15 of 66. PageID #: 1263




payable to Susan Rosenfeld, with the intent to deceive the organization, thus affecting

interstate commerce.

           At trial, Elersic testified that Defendant provided her with Susan Rosenfeld’s

stolen personal information, including a credit report and driver’s license, so that Elersic

could obtain a fraudulent loan. That information was used when Elersic called Beneficial

Financial in the greater Cleveland, Ohio area, on September 20, 2002, to obtain a

fraudulent loan in the amount of $4,999.81. Defendant was present when the call to

Beneficial Financial was placed. Additionally, Defendant drove Elersic to Beneficial to

sign the loan paper and then drove her to the bank to cash the forged loan check. (Gov.

Exhibits 15)7 The two split the proceeds. (Transcript, Vol. I, p. 168)

           Based on the above, the Court finds that the Government proved beyond a

reasonable doubt that Defendant violated 18 U.S.C. § 513(a) and thus finds her GUILTY

of Count 8.

           In Count 9 of the Indictment, the Government claims that on or about September

27, 2002, in the Northern District of Ohio, Eastern Division, Defendant, with other co-

defendants, did knowingly make, utter and possess, and knowingly aid and abet the

making, uttering and possessing a forged security from Citi Financial in the amount of

$7,499.92, payable to Barbara Daniels, with the intent to deceive the organization, thus

affecting interstate commerce.

           At trial, Elersic testified that Defendant provided her with Barbara Daniel’s stolen

personal information, including a credit report and driver’s license (Gov. Exhibit 17) and

counterfeit pay stub, so that Elersic could obtain a fraudulent loan. That information was

used when Elersic called Citi Financial in North Olmsted, Ohio, on September 27, 2002,
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    The parties stipulated as to the authenticity of Gov. Exhibit 15.


                                                        15
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 16 of 66. PageID #: 1264




to obtain a fraudulent loan in the amount of $7,499.92. Defendant was present when the

call to Citi Financial was placed. Additionally, Defendant drove Elersic to Citi Financial

to sign the loan paper and then drove her to the bank to cash the forged loan check.

(Gov. Exhibits 18 & 16 respectively) The two split the proceeds. (Transcript, Vol. I, pp.

170-73)

       Thomas Weber of Citi Financial testified to the authenticity of Gov. Exhibits 16,

17, and 18, and that Citi Financial engaged in interstate commerce and suffered a total

loss on the loan. (Transcript, Vol. IV, p. 556-57)

       Based on the above, the Court finds that the Government proved beyond a

reasonable doubt that Defendant violated 18 U.S.C. § 513(a) and thus finds her GUILTY

of Count 9.

       Count 10 of the Indictment was voluntarily dismissed by the Government.

       In Count 11 of the Indictment, the Government claims that on or about October

11, 2002, in the Northern District of Ohio, Eastern Division, Defendant, with other co-

defendants, did knowingly make, utter and possess, and knowingly aid and abet the

making, uttering and possessing two forged securities from Citi Financial in the amount

of $3,000.04 and $4,500.00, payable to Michelle Wochele, with the intent to deceive the

organization, thus affecting interstate commerce.

       At trial, Elersic testified that Defendant provided her with Michelle Wochele’s

stolen personal information, including a credit report and driver’s license, and a

counterfeit pay stub (Gov. Exhibit 23) made by Defendant containing Wochele’s personal

information so that Elersic could obtain a fraudulent loan. That information was used

when Elersic called Citi Financial in Lakewood, Ohio, on October 11, 2002, to obtain




                                             16
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 17 of 66. PageID #: 1265




fraudulent loans in the amount of $3,000.04 and $4,500.00. Defendant was present when

the call to Citi Financial was placed. Additionally, Defendant drove Elersic to Citi

Financial to sign the loan paper and then drove her to the bank to cash the forged loan

check. (Gov. Exhibits 25, 21 & 22 respectively) The two split the proceeds. (Transcript,

Vol. I, pp. 176-179)

       Thomas Weber of Citi Financial testified to the authenticity of Gov. Exhibits 21,

22, 23, and 25, that Citi Financial engaged in interstate commerce and suffered a total

loss on the loan. (Transcript, Vol. IV, p. 557-58, 560)

       Based on the above, the Court finds that the Government proved beyond a

reasonable doubt that Defendant violated 18 U.S.C. § 513(a) and thus finds her GUILTY

of Count 11.

       In Count 12 of the Indictment, the Government claims that on or about October

17, 2002, in the Northern District of Ohio, Eastern Division, Defendant, with other co-

defendants, did knowingly make, utter and possess, and knowingly aid and abet the

making, uttering and possessing a forged security from Citi Financial in the amount of

$5,000.00, payable to Laura Wagner, with the intent to deceive the organization, thus

affecting interstate commerce.

       At trial, Elersic testified that Defendant provided her with Laura Wagner’s stolen

personal information, a credit report. Defendant also provided Elersic with a counterfeit

driver’s license and pay stub (Gov. Exhibit 28) containing Wagner’s personal information

so that Elersic could obtain a fraudulent loan. That information was used when Elersic

called Citi Financial in Mayfield Heights, Ohio, on October 17, 2002, to obtain a

fraudulent loan in the amount of $10,000.00. Defendant was present when the call to Citi




                                            17
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 18 of 66. PageID #: 1266




Financial was placed. Additionally, Defendant drove Elersic to Citi Financial to sign the

loan paper and then drove her to the bank to cash both of the forged loan checks, each for

$5,000.00. (Gov. Exhibits 29, 26, and 27 respectively) The two split the proceeds.

(Transcript, Vol. II, pp. 187-192)

       Thomas Weber of Citi Financial testified to the authenticity of Gov. Exhibits 26

through 29, that Citi Financial engaged in interstate commerce and suffered a total loss

on the loan. (Transcript, Vol. IV, p. 187-93)

       Although the Indictment indicates that the amount of the forged security was for

$5,000.00, clearly the testimony and evidence presented shows that there were actually

two forged checks, each for $5,000.00, for the total loan amount of $10,000.00. Based on

the evidence presented, the Court finds that the Government proved beyond a reasonable

doubt that Defendant violated 18 U.S.C. § 513(a) and thus finds her GUILTY of Count

12.

       In Count 13 of the Indictment, the Government claims that on or about October

21, 2002, in the Northern District of Ohio, Eastern Division, Defendant, with other co-

defendants, did knowingly make, utter and possess, and knowingly aid and abet the

making, uttering and possessing a forged security from Citi Financial in the amount of

$7,500.04, payable to Betty Westbrook, with the intent to deceive the organization,

affecting interstate commerce, thus affecting interstate commerce.

       At trial, Keene testified that Defendant provided her with Betty Westbrook’s

stolen personal information, including a credit report and a pay stub (Gov. Exhibit 31), so

that Keene could obtain a fraudulent loan. Defendant provided Keene with a fraudulent

driver’s license with Keene’s picture and the personal identification information of Betty




                                            18
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 19 of 66. PageID #: 1267




Westbrook. This information was used when Keene called Citi Financial at the Mayfield

Road branch in South Euclid, Ohio, on October 21, 2002, to obtain a fraudulent loan in

the amount of $7,500.04. Defendant was present when the call to Citi Financial was

placed. Additionally, Defendant drove Keene to Citi Financial to sign the loan paper

(Gov. Exhibit 32) and then drove her to the bank to cash the forged loan check. The two

split the proceeds. (Transcript, Vol. I, pp. 86-92) The Government introduced evidence

that the loan proceeds issued to a Betty Westbrook on October 21, 2002, from the South

Euclid, Ohio branch was for $7,500.04. (Gov. Exhibit 30)

       Thomas Weber of Citi Financial testified to the authenticity of Gov. Exhibits 31

and 32, and that Citi Financial engaged in interstate commerce and suffered a total loss

on the loan. (Transcript, Vol. IV, p. 561)

       Based on the above, the Court finds that the Government proved beyond a

reasonable doubt that Defendant violated 18 U.S.C. § 513(a) and thus finds her GUILTY

of Count 13.

       In Count 14 of the Indictment, the Government claims that on or about October

24, 2002, in the Northern District of Ohio, Eastern Division, Defendant, with other co-

defendants, did knowingly make, utter and possess, and knowingly aid and abet the

making, uttering and possessing one or more forged securities from American General

Finance in the amount of $3,500.00, $3,500.00, and $300.00, payable to Maria Bonini,

with the intent to deceive the organization, affecting interstate commerce, thus affecting

interstate commerce.

       At trial, Keene testified that Defendant provided her with Maria Bonini’s stolen

personal information, including a credit report and a pay stub (Gov. Exhibit 36), so that




                                             19
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 20 of 66. PageID #: 1268




Keene could obtain a fraudulent loan in the amount of $7,300.00. Defendant provided

Keene with a fraudulent driver’s license with Keene’s picture and the personal

identification information of Bonini. This information was used when Keene called

American General Finance in Middleburg Heights, Ohio, on October 24, 2002, to obtain

a fraudulent loan in the amount of $7,300.00 ($300.00 was for a life insurance policy).

Defendant was present when the call to American General was placed. Additionally,

Defendant drove Keene to American General to sign the loan paper (Gov. Exhibit 37)

and then drove her to the bank to cash the forged loan checks. (Gov. Exhibits 33, 34, and

35) The two split the proceeds. (Transcript, Vol. I, pp. 95-100)

       Timothy Davis of American General testified to the authenticity of Gov. Exhibits

33 through 37, and that American General engaged in interstate commerce and suffered a

total loss on the loan. (Transcript, Vol. IV, p. 542-46)

       Based on the above, the Court finds that the Government proved beyond a

reasonable doubt that Defendant violated 18 U.S.C. § 513(a) and thus finds her GUILTY

of Count 14.

       In Count 15 of the Indictment, the Government claims that on or about November

8, 2002, in the Northern District of Ohio, Eastern Division, Defendant, with other co-

defendants, did knowingly make, utter and possess, and knowingly aid and abet the

making, uttering and possessing a forged security from Citi Financial in the amount of

$7,499.97, payable to Naomi Chamberlin, with the intent to deceive the organization,

thus affecting interstate commerce.

       At trial, Elersic testified that Defendant provided her with Naomi Chamberlin’s

stolen personal information, a credit report and bank statement. Defendant also provided




                                             20
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 21 of 66. PageID #: 1269




Elersic with a counterfeit driver’s license and pay stub (Gov. Exhibit 39) containing

Chamberlin’s personal information so that Elersic could obtain a fraudulent loan. That

information was used when Elersic called Citi Financial in Akron, Ohio, on November 9,

2002, to obtain a fraudulent loan in the amount of $7,499.97. Defendant was present

when the call to Citi Financial was placed. Additionally, Defendant drove Elersic to Citi

Financial to sign the loan paper and then drove her to the National City bank to cash the

forged loan check for $7,499.97. (Gov. Exhibits 40 & 38 respectively) Because

Chamberlin had a business account at the bank, the check was deposited and then

withdrawn from that account. (Gov. Exhibits 41 & 43) Elersic also cashed a forged

check from that bank account in the amount of $3,499.97. (Gov. Exhibit 44) Elersic

identified herself in the National City Bank surveillance photos conducting transactions

on Chamberlin’s bank account (Gov. Exhibit 42). Elersic testified that she and the

Defendant split the proceeds. (Transcript, Vol. II, pp. 193-99)

       Thomas Weber of Citi Financial testified to the authenticity of Gov. Exhibits 38

through 40, that Citi Financial engaged in interstate commerce and suffered a total loss

on the loan. (Transcript, Vol. IV, p. 562)

       Although the Indictment only charges Defendant with the forged security of

$7,499.97, clearly the testimony and evidence presented shows that there were actually

two forged checks, the loan check for $7,499.97 and the personal check for $3,499.97, for

a total of $10,999.94.

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 513(a) and thus finds her

GUILTY of Count 15.




                                             21
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 22 of 66. PageID #: 1270




         In Count 16 of the Indictment, the Government claims that on or about October

29, 2002, in the Northern District of Ohio, Eastern Division, Defendant, with other co-

defendants, did knowingly make, utter and possess, and knowingly aid and abet the

making, uttering and possessing a forged security from Citi Financial in the amount of

$7,499.87, payable to Susan Duncan, with the intent to deceive the organization, thus

affecting interstate commerce.

         At trial, Kristine Schwab, Branch Manager for the Mayfield Heights, Ohio

location of Citi Financial Loan Company, testified that Defendant, posing as a Susan

Duncan, applied for a loan at Citi Financial. In addition to the fraudulent loan papers,

including a credit application (Gov. Exhibit 47), Disclosure Statement / Note and

Security Agreement (Gov. Exhibit 48), self-employment information worksheet8 (Gov.

Exhibit 50), Defendant also submitted to the bank false income tax returns for 2000 and

2001 and fraudulent W-2 forms. (Gov. Exhibits 51, 52, & 53) While at Citi Financial,

Defendant provided a fraudulent driver’s license with Susan Duncan’s name and a false

address.9 (Gov. Exhibit 46). The loan was approved and a check was issued in Susan

Duncan’s name for $7,499.87. (Gov. Exhibit 45) Defendant also signed up for insurance

on the loan. (Gov. Exhibit 49) The Government also produced a picture of Defendant

holding up the fraudulent loan check. (Gov. Exhibit 55) In addition to Schwab

identifying Defendant as the person in the picture that presented herself as Susan Duncan,

both Davie and Elersic identified Defendant as the individual in the photo. Defendant

forged the signature on the loan check (Gov. Exhibit 45) and took it to Checks Mart in

Parma, Ohio on October 31, 2002. At Checks Mart, Defendant filled-out a check cashing

8
  Kathy Davie testified that the handwriting on the Citi Financial self-employment information worksheet
was Defendant’s.
9
  Davie and Elersic positively identified the person on the driver’s license of Susan Duncan as Defendant.


                                                    22
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 23 of 66. PageID #: 1271




customer information sheet10 (Gov. Exhibit 54) and cashed the check. (Transcript, Vol.

IV, pp. 515-23)

         Schwab testified concerning the authenticity of Gov. Exhibits 45 through 53.

Thomas Weber of Citi Financial testified that Citi Financial engaged in interstate

commerce and suffered a total loss on the loan. (Transcript, Vol. IV, p. 566) Jillian

McCreight authenticated Gov. Exhibits 54 and 55.

         Based on the above, the Court finds that the Government proved beyond a

reasonable doubt that Defendant violated 18 U.S.C. § 513(a) and thus finds her GUILTY

of Count 16.

         In Count 21 of the Indictment, the Government claims that on or about April 28,

2004, in the Northern District of Ohio, Eastern Division, Defendant, with other co-

defendants, did knowingly make, utter and possess, and knowingly aid and abet the

making, uttering and possessing a forged security from Citi Financial in the amount of

$15,000.11, payable to Robert P. Stuck, with the intent to deceive the organization, thus

affecting interstate commerce.

         At trial, Richard Taylor testified that Defendant provided him with Struck’s stolen

personal information, including a credit report (Gov. Exhibit 69) and a pay stub (Gov.

Exhibit 70). Defendant also provided Taylor with a counterfeit driver’s license (Gov.

Exhibit 74) and a note setting forth Stuck’s address, Social Security number, date of

birth, employment, and who he banks with.11 (Gov. Exhibit 68) This information was

used by Taylor to obtain a fraudulent loan. Taylor called Citi Financial in Gahanna,


10
  Davie testified that the handwriting on the Checks Mart customer account application was Defendant’s.
11
  During a search of Defendant’s rental vehicle by the Twinsburg Police Department, the following items
were found: original counterfeit Robert Stuck driver’s license, fishing license, credit report, pay stubs; and
personal identifier information of Stuck on a piece of paper identified as in Defendant’s handwriting.


                                                      23
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 24 of 66. PageID #: 1272




Ohio, on April 28, 2004, to obtain a fraudulent loan in the amount of $15,000.00.

Defendant was present when the call to Citi Financial was placed. Additionally,

Defendant drove Taylor to Citi Financial to sign the loan paper and then drove her to

Huntington National Bank to cash the forged loan check for $15,000.11. (Gov. Exhibits

75 & 74 respectively) The teller at Huntington would not cash the check for the full

amount but issued Taylor $7,500.00 in cash and three cashier’s checks for $2,500.00.12

Taylor and Defendant went to another branch of Huntington and received cash for the

cashier’s checks. Taylor testified that he and the Defendant split the proceeds.

(Transcript, Vol. VI, pp. 807-824)

           Thomas Weber of Citi Financial testified to the authenticity of Gov. Exhibits 73

through 75, that Citi Financial engaged in interstate commerce and suffered a total loss

on the loan. (Transcript, Vol. IV, p. 563-64)

           Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 513(a) and thus finds her

GUILTY of Count 21.

           In Count 22 of the Indictment, the Government claims that on or about May 21,

2004, in the Northern District of Ohio, Eastern Division, and elsewhere, Defendant, with

other co-defendants, did knowingly make, utter and possess, and knowingly aid and abet

the making, uttering and possessing a forged security from Citi Financial in the amount

of $15,000.06, payable to Joseph Farmer, with the intent to deceive the organization, thus

affecting interstate commerce.

           At trial, Charles Griffin testified that Davie provided him all the instructions as to

how to perpetrate the frauds. (Transcript, Vol. 5, p. 753-54) He never received
12
     Taylor also got a fishing license in the name of Robert Stuck to aid in cashing the checks.


                                                        24
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 25 of 66. PageID #: 1273




instructions from Defendant. Id. Griffin also stated that the fraudulent driver’s license

and pay stub were provided to him by Davie. (Transcript, Vol. 5, pp. 761-62) Griffin did

admit to signing the loan documents, forging the cashed check, and splitting the proceeds,

but made no connection to Defendant. Id. at 762-65.

       Based on the evidence presented, the Court finds that the Government failed to

connect Defendant to this crime and thus has not proved beyond a reasonable doubt that

Defendant violated 18 U.S.C. § 513(a). Therefore, the Court finds Defendant NOT

GUILTY of Count 22.

       In Count 23 of the Indictment, the Government claims that on or about June 4,

2004, in the Northern District of Ohio, Eastern Division, and elsewhere, Defendant, with

other co-defendants, did knowingly make, utter and possess, and knowingly aid and abet

the making, uttering and possessing a forged security from Citi Financial in the amount

of $7,499.88, payable to Melvin Peters, with the intent to deceive the organization, thus

affecting interstate commerce.

       At trial, Charles Griffin testified that Davie provided him all the instructions as to

how to perpetrate the frauds. Id. at 765-66. He never received instructions from

Defendant. Id. Griffin also stated that the fraudulent driver’s license and pay stub were

provided to him by Davie. Id. at 767 Griffin did admit to signing the loan documents,

forging the cashed check, and splitting the proceeds, but made no connection to

Defendant. Id. at 767-69.

       Based on the evidence presented, the Court finds that the Government has not

proved beyond a reasonable doubt that Defendant violated 18 U.S.C. § 513(a) and thus

finds her NOT GUILTY of Count 23.




                                             25
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 26 of 66. PageID #: 1274




       In Count 24 of the Indictment, the Government claims that on or about June 9,

2004, in the Northern District of Ohio, Eastern Division, and elsewhere, Defendant, with

other co-defendants, did knowingly make, utter and possess, and knowingly aid and abet

the making, uttering and possessing a forged security from Citi Financial in the amount

of $15,000.11, payable to Wayne Dixon, with the intent to deceive the organization, thus

affecting interstate commerce.

       At trial, Charles Griffin testified that Davie provided him all the instructions as to

how to perpetrate the frauds. Id. at 771-72. He never received instructions from

Defendant. Id. Griffin also stated that the fraudulent driver’s license and pay stub were

provided to him by Davie. Id. at 772, 774-77. Griffin did admit to signing the loan

documents, forging the cashed check, and splitting the proceeds, but made no connection

to Defendant. Id. at 772-73.

       Based on the evidence presented, the Court finds that the Government has not

proved beyond a reasonable doubt that Defendant violated 18 U.S.C. § 513(a) and thus

finds her NOT GUILTY of Count 24.

       In Count 25 of the Indictment, the Government claims that on or about June 22,

2004, in the Northern District of Ohio, Eastern Division, and elsewhere, Defendant, with

other co-defendants, did knowingly make, utter and possess, and knowingly aid and abet

the making, uttering and possessing a forged security from Citi Financial in the amount

of $14,999.93, payable to Glenn Benson, with the intent to deceive the organization, thus

affecting interstate commerce.

       At trial, Charles Griffin testified that Cheryl Head provided him all the

instructions as to how to perpetrate the frauds. Id. at 779. He never received instructions




                                             26
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 27 of 66. PageID #: 1275




from Defendant. Id. Griffin also stated that the fraudulent driver’s license and pay stub

were provided to him by Head. Id. at 780. Griffin did admit to signing the loan

documents, forging the cashed check, and splitting the proceeds, but made no connection

to Defendant. Id. at 781-82.

       Based on the evidence presented, the Court finds that the Government has not

proved beyond a reasonable doubt that Defendant violated 18 U.S.C. § 513(a) and thus

finds her NOT GUILTY of Count 25.

       In Count 26 of the Indictment, the Government claims that on or about April 7,

2004, in the Northern District of Ohio, Eastern Division, Defendant, with other co-

defendants, did knowingly make, utter and possess, and knowingly aid and abet the

making, uttering and possessing a forged security from Citi Financial in the amount of

$15,000.01, payable to Darrell Lather, with the intent to deceive the organization, thus

affecting interstate commerce.

       At trial, Danny Waddell testified that Defendant provided him with Lather’s

stolen personal information, including a credit report, pay stubs, and a counterfeit driver’s

license (Gov. Exhibit 90) This information was used by Waddell to obtain a fraudulent

loan. (Gov. Exhibit 91) Waddell called Citi Financial in Toledo, Ohio, on April 7, 2004,

to obtain a fraudulent loan in the amount of $15,000.01. Davie was with him when the

loan application was phoned in and the loan papers were signed. Defendant and Davie

drove Waddell back to Toledo the next day to cash the forged loan check for $15,000.01.

(Gov. Exhibits 91 & 89 respectively) Waddell testified that he, Davie, and the Defendant

split the proceeds in thirds. (Transcript, Vol. VII, pp. 908-13).




                                             27
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 28 of 66. PageID #: 1276




       Thomas Weber of Citi Financial testified to the authenticity of Gov. Exhibits 89,

90, and 91, that Citi Financial engaged in interstate commerce and suffered a total loss on

the loan. (Transcript, Vol. IV, p. 569)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 513(a) and thus finds her

GUILTY of Count 26.

       In Count 27 of the Indictment, the Government claims that on or about March 18,

2004, in the Northern District of Ohio, Eastern Division, Defendant, with other co-

defendants, did knowingly make, utter and possess, and knowingly aid and abet the

making, uttering and possessing two forged securities from Citi Financial in the amount

of $5,000.00 each, payable to James Guy, with the intent to deceive the organization, thus

affecting interstate commerce.

       At trial, Danny Waddell testified that Defendant provided him with Guy’s stolen

personal information, including a credit report, pay stubs, and a counterfeit driver’s

license (Gov. Exhibit 94) Waddell called Citi Financial in Youngstown, Ohio, on March

18, 2004, to obtain a fraudulent loan in the amount of $10,000.00. (Gov. Exhibit 95)

Defendant was with him when the loan application was phoned in and the loan papers

were signed. Defendant and Davie drove Waddell back to Toledo the next day to cash

the forged loan checks for $5,000.00 each, totaling $10,000.00. (Gov. Exhibits 95, 92, &

93 respectively) Waddell testified that he received one-third of the proceeds and

Defendant and Davie received the remaining two-thirds. (Transcript, Vol. VII, pp. 913-

16).




                                             28
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 29 of 66. PageID #: 1277




       Thomas Weber of Citi Financial testified to the authenticity of Gov. Exhibits 92

through 95, that Citi Financial engaged in interstate commerce and suffered a total loss

on the loan. (Transcript, Vol. IV, p. 570-71)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 513(a) and thus finds her

GUILTY of Count 27.

       In Count 28 of the Indictment, the Government claims that on or about January

18, 2004, in the Northern District of Ohio, Eastern Division, Defendant, with other co-

defendants, knowingly and with the intent to defraud, effected transactions and aided and

abetted the effecting of transactions with credit card accounts fraudulently opened at

Costco, Best Buy and Wal-Mart in the name of Thomas Swartz, another person, to

receive payment or any other thing of value during any one-year period, the aggregate

value of which is equal to or greater than $1,000, to wit: merchandise, goods and services

worth approximately $4,888.21, thus having an affect on interstate commerce in violation

of 18 U.S.C. § 1029(a)(5) and (2).

       Title 18 of United States Code, Section 1029(a)(5), entitled “Fraud and related

activity in connection with access devices,” makes it a crime against the United States to

“knowingly and with intent to defraud effects transactions, with 1 or more access devices

issued to another person or persons, to receive payment or any other thing of value during

any 1-year period the aggregate value of which is equal to or greater than $1,000.”

       At trial, Danny Waddell testified that Defendant provided him with stolen

personal identifier information of Thomas Swartz, including a credit report and a

counterfeit driver’s license. This information was used by Waddell to obtain a fraudulent




                                            29
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 30 of 66. PageID #: 1278




credit card in Swartz’s name at Costco. (Gov. Exhibit 96-credit application). Waddell

used that credit card to purchase merchandise on January 17, 2004, totaling $1,706.36.

Id. (receipt for merchandise) This merchandise was turned over to Defendant and Davie.

Waddell also used the provided information to open a credit account at Best Buy in

Swartz’s name. (Gov. Exhibit 97) That account was used to purchase merchandise on

January 17, 2004, for $431.99 and $1608.36 totaling $2040.35, and on January 18, 2004,

totaling $787.29. (Gov. Exhibit 98) Although Waddell did keep one of the items for

himself, he turned the remainder over to Defendant and Davie. Finally, Waddell used the

provided information to open a credit account with Wal-Mart in the name of Thomas

Swartz. (Gov. Exhibit 99) That credit card was used on January 17, 2004, to purchase

merchandise totaling $354.21. Waddell kept some of the purchased items and gave the

remainder to Davie for her and Defendant. (Transcript, Vol. 6, pp. 875-90)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 1029(a)(5) and thus finds

her GUILTY of Count 28.

       In order to find Defendant guilty on Counts 29 and 30, the Government must

prove beyond a reasonable doubt that Defendant violated 18 U.S.C. § 1344. That statute

provides in pertinent part,

       Whoever knowingly executes, or attempts to execute, a scheme or artifice-

       (1) to defraud a financial institution; or

       (2) to obtain any of the moneys, funds, credits, assets, securities, or other
       property owned by, or under the custody or control of, a financial
       institution, by means of false or fraudulent pretenses, representations, or
       promises . . .

has committed an offense against the United States of America.



                                              30
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 31 of 66. PageID #: 1279




       In Count 29 of the Indictment, the Government claims that the Defendant, along

with other co-defendants, committed bank fraud by using personal identifier information

and stolen or counterfeit identifications to open bank accounts for the purpose of cashing

stolen, forged or counterfeit checks through those accounts.

       During trial, Waddell testified that Defendant provided him with personal

identifier information and counterfeit identification in the names of Thomas Swartz and

Dan O’Brien. (Transcript, Vol. 7, pp. 896-900) These items were used to open bank

accounts at Fifth Third Bank in January and February of 2004. (Gov. Exhibits 101-103)

Waddell testified that he had seen Defendant prepare fraudulent checks on her home

typewriter. (Transcript, Vol. 6, pp. 890-91) Defendant provided those checks, through

Davie, to Waddell so that he could open accounts in fraudulent names and negotiate the

checks. Id. at 891 (Gov. Exhibit 103) Waddell split the proceeds from the fraudulent

checks with Davie. (Transcript, Vol. 7, p. 898)

       In addition to the above, during the April 30, 2004, the Twinsburg Police

Department executed a search warrant at Defendant’s Shaker Heights residence. Among

the things found at the home were stolen and counterfeit checks which were cut and

placed in a garbage bag and the typewriter Waddell referred to that Defendant prepared

the fraudulent checks on. (Gov. Exhibit 232)

       Gary Bellumoni authenticated the Fifth Third bank records, testified that Fifth

Third Bank is insured by the FDIC, and that the bank suffered a total loss on the above

accounts which totaled approximately $2,000. (Transcript, Vol. 5, pp. 659-661)




                                            31
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 32 of 66. PageID #: 1280




       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 1344 and thus finds her

GUILTY of Count 29.

       In Count 30 of the Indictment, the Government claims that the Defendant, along

with other co-defendants, committed bank fraud by using personal identifier information

and stolen or counterfeit identifications to open bank accounts for the purpose of cashing

stolen, forged or counterfeit checks through those accounts.

       During trial, Jimmie Dunbar testified that Defendant and Davie provided him with

personal identifier information of Anthony T. Jackson, such as Jackson’s age, date of

birth, Social Security number, address, and telephone number, and counterfeit

identification in the name of Jackson. (Transcript, Vol. 4, pp. 585-90) These items were

used to open bank accounts at Fifth Third Bank in Jackson’s name. (Gov. Exhibits 104-

106, 108) Dunbar also opened an account in his own name so that he could deposit

fraudulent checks, supplied by Defendant, into that account to split the proceeds with

Defendant and Davie. (Transcript, Vol. 4, pp. 583-613) Fraudulent checks were also

used to purchase merchandise which was taken to Defendant’s home. Id. at 590-95.

       In addition to the above, during the April 30, 2004, the Twinsburg Police

Department executed a search warrant at Defendant’s Shaker Heights residence. Among

the things found at the home were torn stolen and counterfeit checks . (Gov. Exhibits

224, 26-230, 232). Also found at the home were the stolen driver’s license of Jackson

(Gov. Exhibit 312) and of Jacqueline Nemmeth (Gov. Exhibit 310).




                                            32
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 33 of 66. PageID #: 1281




       Gary Bellumoni authenticated the Fifth Third bank records, testified that Fifth

Third Bank is insured by the FDIC, and that the bank suffered a total loss on the above

accounts which totaled approximately $1,300. (Transcript, Vol. 5, pp. 657-663)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 1344 and thus finds her

GUILTY of Count 30.

       In order to find Defendant guilty on Count 31, the Government must prove

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 1028(a)(7). That statute

provides in pertinent part,

       (a) Whoever, in a circumstance described in subsection (c) of this section-

       (7) knowingly transfers, possesses, or uses, without lawful authority, a
       means of identification of another person with the intent to commit, or to
       aid or abet, or in connection with, any unlawful activity that constitutes a
       violation of Federal law, or that constitutes a felony under any applicable
       State or local law; . . .

commits an offense against the United States of America.

       In Count 31 of the Indictment, the Government claims that on or about

September 10, 2002, and August 13, 2004, in the Northern District of Ohio, Eastern

Division, Defendant along with other co-defendants, did knowingly transfer or use, and

knowingly aid and abet the transfer and use, without lawful authority, a means of

identification of one or more persons with the intent to commit, or aid and abet, or in

connection with, any unlawful activity that constitutes a violation of federal law, or

constitutes a felony under State or local law, thus affecting interstate commerce in

violation of 18 U.S.C. § 1028 (a)(7).




                                             33
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 34 of 66. PageID #: 1282




       In the above previous pages, the Court has discussed the multitude of instances

where Defendant provided to others personal identifiers of various individuals in order to

fraudulently deprive financial institutions and retail stores of funds and merchandise,

which are felony offenses under state law and violations of federal law. In addition,

Defendant also had possession of fraudulent driver’s licenses which contained

Defendant’s photo and the personal identifier information of others, including Susan

Duncan and Betty Kolar. (Gov. Exhibits 46, 54-55, & 62-63) There was also testimony

that Defendant used a fraudulent driver’s license in the name of Robin James to lease an

apartment in the Watergate Apartments in June of 2004. (Transcript, Vol. 5, p. 707)

Stolen and counterfeit driver’s licenses and identification cards were also found in the

search of that residence. (Gov. Exhibits 256-258 and 310-312)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 1028(a)(7) and thus finds

her GUILTY of Count 31.

       In Count 32 of the Indictment, the Government claims that on or about March 20,

2003, in the Northern District of Ohio, Eastern Division, Defendant along with another

co-defendant, did knowingly produce, transfer or possess, and aid and abet the

production, transfer or possession, of a document-making implement or authentication

feature with the intent such document-making implement or authentication feature will be

used in the production of a false identification document or another document-making

implement which will be so used, thus affecting interstate commerce in violation of 18

U.S.C. § 1028(a)(5).




                                            34
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 35 of 66. PageID #: 1283




               In order to find Defendant guilty on Count 32, the Government must prove

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 1028(a)(5). That statute

provides in pertinent part,

       (a) Whoever, in a circumstance described in subsection (c) of this section-

       (5) knowingly produces, transfers, or possesses a document-making
       implement or authentication feature with the intent such document-
       making implement or authentication feature will be used in the production
       of a false identification document or another document-making implement
       or authentication feature which will be so used;

has committed an offense against the United States.

       When the search warrant was executed at Defendant’s Shaker Heights home on

March 20, 2003, the following items were found that had been used to make fraudulent

identification documents: Gov. Exhibits 111 - Packard Bell computer; 112 - Hewlet

Packard Laptop; 117 - Anthony Evan’s Social Security card; 121 - Wendy Smith’s Social

Security benefits statement addressed to a non-existing address on the same road as

Defendant’s residence; and 122 - Defendant’s handwritten personal identifier information

of Jean Stutzman. In addition to these exhibits, other papers, written by Defendant,

contained various victims’ identifier information, including Gov. Exhibits 120, 122-123,

126, 150, 159, 161-166, 168, and 181-182. Social Security cards or statements were also

discovered for individuals who were either victims or claimed dependants on fraudulent

tax returns (which will be discussed below), including: Gov. Exhibits 136, 142, 168, 193,

and 205. Finally, copies of cemetery contracts which provided the names, addresses and

Social Security numbers of individual victims (Gov. Exhibit 129), a tampered copy of a

DD-214 military separation document (Gov. Exhibit 130) along with blank copies of that




                                            35
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 36 of 66. PageID #: 1284




document (Gov. Exhibit 131), and stolen checkbooks (Gov. Exhibit 141) and birth

certificates (Gov. Exhibit 177), were also found.

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 1028(a)(5) and thus finds

her GUILTY of Count 32.

       In order to find Defendant guilty on Counts 33 and 34, the Government must

prove beyond a reasonable doubt that Defendant violated 18 U.S.C. § 513(b). That

statute provides in pertinent part,

       (b) Whoever makes, receives, possesses, sells or otherwise transfers an
       implement designed for or particularly suited for making a counterfeit or
       forged security with the intent that it be so used

has committed an offense against the United States.

       In Count 33 of the Indictment, the Government claims that on or about April 30,

2004, in the Northern District of Ohio, Eastern Division, Defendant along with another

co-defendant, did knowingly make, receive, possess, sell, or otherwise transfer, and

knowingly aid and abet the making, receipt, possession, sale or other transfer of one or

more implements designed for or particularly suited for making counterfeit or forged

securities with the intent that they be so used, thus affecting interstate commerce in

violation of 18 U.S.C. § 513(b) and 2.

       When the search warrant was executed at Defendant’s Shaker Heights home on

March 20, 2003, the following items were found that had been used to make fraudulent

identification documents: Gov. Exhibits 208 - computer; 209 - counterfeit driver’s license

and identification cards with Waddell’s photo; 210 - fraudulent identification cards in

names used by Waddell; 211-212 - personal identifier information and credit report of




                                             36
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 37 of 66. PageID #: 1285




James Guy; 213-217 credit reports for other individuals; and 218-220 - personal identifier

information for other individuals including a steno book with dependent identifier

information used on fraudulent tax returns. Defendant is clearly tied to the Chelton Road

residence and hence the exhibits above through the photos taken during the search, such

as Defendant’s diplomas on the wall and prescription bottles in the bathroom. (Gov.

Exhibits 56-61 and 208-240)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 513(b) and thus finds her

GUILTY of Count 33.

       In Count 34 of the Indictment, the Government claims that on or about April 13,

2004, in the Northern District of Ohio, Eastern Division, Defendant along with another

co-defendant, did knowingly make, receive, possess, sell, or otherwise transfer, and

knowingly aid and abet the making, receipt, possession, sale or other transfer of one or

more implements designed for or particularly suited for making counterfeit or forged

securities with the intent that they be so used, thus affecting interstate commerce in

violation of 18 U.S.C. § 513(b) and 2.

       As stated previously, Defendant rented an apartment at the Watergate Apartments

between June of 2004 and August of 2004 in the name of Robin James, without her

knowledge. On August 13, 2004, the Secret Service executed a search warrant of that

residence. Items confiscated during the search included Ohio Bureau of Motor Vehicles

hologram film (Gov. Exhibit 302). The additional items recovered include Gov. Exhibits

245A-315.




                                             37
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 38 of 66. PageID #: 1286




       James testified that she did not rent that apartment and did not find out about the

fact that an apartment was leased in her name until Defendant contacted her at 1:30 p.m.

on August 13, 2004, to inform her that a search warrant was being executed.

Additionally, Maisha Conard identified Defendant as the person who rented that

particular apartment using the name and personal identifiers of James, who is the niece of

Davie. (Transcript, Vol. 5, 707-42)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 513(b) and thus finds her

GUILTY of Count 34.

       In order to find Defendant guilty on Count 35, the Government must prove

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 1028(a)(5). That statute

was discussed in Count 32 above.

       In Count 35 of the Indictment, the Government claims that on or about August

13, 2004, in the Northern District of Ohio, Eastern Division, Defendant along with

another co-defendant, did knowingly transfer or possess, and aid and abet the production,

transfer or possession of a document-making implement or authentication feature with

the intent such document-making implement or authentication feature will be used in the

production of a false identification document or another document-making implement

which will so be used, thus affecting interstate commerce in violation of 18 U.S.C. §

1028(a)(5) and 2.

       When the search warrant was executed on August 13, 2004, the following items

were found that had been used to make fraudulent identification documents: Gov.

Exhibits 245(A) - Toshiba Laptop computer; 245(B) - Dell 340 CPU; 246 - Sony Handy




                                            38
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 39 of 66. PageID #: 1287




Cam; 247 - HP Photo Smart camera; 248 - HP Photo Smart printer; 249 - Polaroid Pocket

ID kit; 250 - JVC digital video camera; 253, 254, and 263 - passport photos; 255-262,

264-266, 273, 279-281, 285, 291-292, and 298-315 - stolen or counterfeit identification

cards driver’s licenses, and assorted personal identifier information for various individual

victims; 267-268, 274-277, 284, and 286-290 - credit reports and other credit history

information on various individuals; 301- laminating pouch assortment used to make

identification cards; and 302 - Ohio Bureau of Motor Vehicles laminate film. See also

the photos from the search of Apartment 1150 - Gov. Exhibits 316-322.

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 1028(a)(5) and thus finds

her GUILTY of Count 35.

       Count 36 of the Indictment charges that beginning in or about March 2001, and

continuing until in or about February 2003, in the Northern District of Ohio, Eastern

Division, Defendant along with another co-defendant, unlawfully, willfully and

knowingly agreed, combined and conspired with each other to defraud the United States

by obtaining or aiding to obtain the payment or allowance of false, fictitious or fraudulent

claims in violation of 18 U.S.C. § 286.

       In order to find Defendant guilty on Count 36, the Government must prove

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 286. That statute

provides in pertinent part:

       Whoever enters into any agreement, combination, or conspiracy to defraud
       the United States, or any department or agency thereof, by obtaining or
       aiding to obtain the payment or allowance of any false, fictitious or
       fraudulent claim, [has committed an offense against the United States].




                                            39
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 40 of 66. PageID #: 1288




       At trial, Kathie Davie testified that Defendant was directly involved with her in

preparing and electronically filing false tax returns. (Transcript, Vol. 2, pp. 289-300)

Davie also testified that persons were paid to use their children’s names and personal

identifier information on others tax forms in order to increase the amount of the refund on

the false returns. Id. at 293-94. Additionally, Davie stated that the computers used to

prepare the tax forms belonged to Defendant. Id. at 299. She identified Defendant’s

handwriting on the “steno book” which contained information from the false returns,

including names, dates of birth, Social Security numbers and information on the

dependants falsely claimed on numerous false returns. (Gov. Exhibit 220) Davie also

identified that a chart used by Defendant describing refunds claimed, refund amounts due

and “profit”, split between her and Defendant, from various false 2002 tax returns was in

Defendant’s handwriting. As were a multitude of other items pertaining to taxpayers

names used on 2000 and 2001 returns. (Gov. Exhibit 181)

       The IRS investigated the returns at issue in this case and verified that most of the

employment information listed on the returns was false. (Gov. Exhibits 381-421)

Special Agent Gwendolyn Curtis of the IRS investigated the returns at issue in Counts 36

through 60. She discovered that many of the individuals were not aware that returns had

been filed in their names. (Transcript, Vol. 8, p. 1339) Three of the individuals, Sheree

Allen, Twila Nauden, and Michael Allen, were aware that returns had been filed but did

not recognize the information reported on them. Id. Agent Curtis also discovered that of

the 24 returns at issue, there were wage amounts, withholding amounts and dependants

that were similar. Id. at 1342. Of the 24 returns, 14 received refunds. Id. As will be

discussed in more detail below, the refunds from the false returns were mostly directed to




                                             40
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 41 of 66. PageID #: 1289




bank accounts controlled by Defendant or Kathy Davie. Defendant actually endorsed and

negotiated the refund check from Curtis Birt’s 2000 tax return. (Gov. Exhibit 455)

       Wendy Calliens testified at trial that when she confronted Defendant about the

false tax return Defendant filed for 2001, Defendant admitted using Calliens’ information

to file the return. (Transcript, Vol. 7, pp. 1051-52)

       During the March 2003 search of Defendant’s residence, the police discovered a

multitude of personal identifier information for the false returns. (Gov. Exhibit 508)

During the April 2004 search, a “steno book” was discovered which contains names,

Social Security numbers, and dates of birth for dependants named on the false returns.

(Gov. Exhibit 220) A legal pad was also found which contained names on the false

returns for 2002 along with a detailed breakdown of the refunds due, amounts payable,

and “profit” to be received. (Gov. Exhibit 181)

       Finally, Gov. Exhibit 509 details the false returns and similarities between the

returns.

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 286 and thus finds her

GUILTY of Count 36.

       In order to find Defendant guilty on Counts 37 - 60, the Government must prove

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287. That statute

provides in pertinent part:

       Whoever makes or presents to any person or officer in the civil, military, or
       naval service of the United States, or to any department or agency thereof,
       any claim upon or against the United States, or any department or agency
       thereof, knowing such claim to be false, fictitious, or fraudulent [has committed
       an offense against the United States.]




                                             41
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 42 of 66. PageID #: 1290




       In Counts 37 through 60 of the Indictment, the Government claims that on or

about March 19, 2001 through February 18, 2003, in the Northern District of Ohio,

Eastern Division, Defendant along with another co-defendant, did knowingly make and

present, caused to be made and presented, and knowingly aided and abetted the making

and presentation, to the Internal Revenue Service, an agency of the Department of the

Treasury, claims against the United States for payment, which she knew to be false,

fictitious or fraudulent, by preparing and causing to be prepared, and filing, and causing

to be filed, what purported to be federal income tax returns, for various individuals,

wherein claims for income tax refunds for various amounts were made, knowing such

claims to false, fictitious or fraudulent, in violation of 18 U.S.C. § 287.

       Page 33 of the Indictment lists the count charged, name on the claim with the IRS,

date of claim, tax year for the fraudulent return, and amount claimed for a refund on the

return and therefore will not be restated herein.

        In Count 37, a federal tax return was electronically filed for tax year 2000 using

the name and personal identifiers of Eric Cammon. (Gov. Exhibit 333) The IRS

determined that the employer information contained on the return was false. (Gov.

Exhibits 381-82)

       During the March 2003 search of Defendant’s residence, the police discovered W-

2 information for Cammon in Defendant’s handwriting (Gov. Exhibit 151), a copy of the

tax return (Gov. Exhibit 137), information used on the return (Gov. Exhibit 153), and

Cammon’s name on a list in Defendant’s handwriting (Gov. Exhibit 168).

       During the April 2004 search of Defendant’s residence, a steno book was found

which contained information pertaining to the dependents listed on Cammon’s return.




                                              42
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 43 of 66. PageID #: 1291




(Gov. Exhibit 220) Davie testified that the information written in this book was in

Defendant’s handwriting.

       The refund on this return was directed to and deposited into an account in the

name of Fenetre, Inc. at National City Bank. The only signatory on the account was

Defendant. (Gov. Exhibits 473-74, & 451) Additionally, Davie identified Defendant’s

handwriting on the signature form, Form 8453, of Cammon. (Gov. Exhibit 333, p. 7)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287 and thus finds her

GUILTY of Count 37.

       In Count 38, a federal tax return was electronically filed for tax year 2000 using

the name and personal identifiers of Joseph Richardson (Gov. Exhibit 334) The IRS

determined that the employer information contained on the return was false. (Gov.

Exhibits 383-84) Additionally, Richardson testified that he was not employed during the

year 2000 due to medical problems and did not file a tax form for that year. (Transcript,

Vol. 7, pp. 1103-1104)

       The wage information on Richardson’s tax return and the withholding amounts

therein are strikingly similar to other tax returns in this case, including Birt 2001, Davie

2001, Dohn Bradley 2001, Dion Bradley 2001, Calliens 2001, Chappell 2001, Davie

2002, and Hollis 2002.

       During the March 2003 search of Defendant’s residence, the police discovered

employer information used on the return (Gov. Exhibit 140) and Richardson’s name on a

list in Defendant’s handwriting (Gov. Exhibit 164).




                                             43
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 44 of 66. PageID #: 1292




        The refund on this return was directed to and deposited into an account in

Defendant’s name at National City Bank. (Gov. Exhibits 453 & 475 The only signatory

on the account was Defendant. (Gov. Exhibit 474) Additionally, Davie identified

Defendant’s handwriting on the signature form, Form 8453, of Richardson. (Gov.

Exhibit 333, p. 7)

        Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287 and thus finds her

GUILTY of Count 38.

        In Count 39, a federal tax return was electronically filed for tax year 2000 using

the name and personal identifiers of Curtis Birt. (Gov. Exhibit 335) The IRS determined

that the employer information contained on the return was false. (Gov. Exhibits 385-86)

It is additionally noted that the address on the return in this case is similar to that used on

other returns. (Gov. Exhibit 333, 339, 343)

        During the March 2003 search of Defendant’s residence, the police discovered

information on the dependents claimed on the return (Gov. Exhibit 126), a copy of the tax

return (Gov. Exhibit 138), information used on the return (Gov. Exhibit 139), and Birt’s

name on a list in Defendant’s handwriting (Gov. Exhibit 164).

        During the April 2004 search of Defendant’s residence, a steno book was found

which contained information pertaining to the dependents listed on Birt’s return. (Gov.

Exhibit 220) Davie testified that the information written in this book was in Defendant’s

handwriting.

        The refund on this return was given in paper check form and was endorsed by

Defendant. (Gov. Exhibits 455)




                                              44
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 45 of 66. PageID #: 1293




       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287 and thus finds her

GUILTY of Count 39.

       In Count 40, a federal tax return was electronically filed for tax year 2001 using

the name and personal identifiers of Ronald Maxwell. (Gov. Exhibit 336) The IRS

determined that the employer information contained on the return was false. (Gov.

Exhibits 387-88)

       The wage information on Maxwell’s tax return and the withholding amounts

therein are strikingly similar to other tax returns in this case, including Mitchell 2001,

Richardson 2001, Cammon 2001, Nauden 2001, and Richardson 2002.

       During the March 2003 search of Defendant’s residence, the police discovered

Maxwell’s name on a list written by Defendant (Gov. Exhibit 164), identifiers for the

dependents listed on this return written in Defendant’s handwriting (Gov. Exhibit 164),

and Maxwell’s name on a list of returns, refunds and profit. (Gov. Exhibit 181).

       During the April 2004 search of Defendant’s residence, a steno book was found

which contained references to Maxwell and the dependents claimed on the return. (Gov.

Exhibit 220) Davie testified that the information written in this book was written in

Defendant’s handwriting.

       The refund on this return was directed to and deposited into an account in the

name of Fenetre, Inc. at National City Bank. The only signatory on the account was

Defendant. (Gov. Exhibits 472-473, 456)




                                             45
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 46 of 66. PageID #: 1294




       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 40.

       In Count 41, a federal tax return was electronically filed for tax year 2001 using

the name and personal identifiers of Marlon E. Mitchell. (Gov. Exhibit 337) The IRS

determined that the employer information contained on the return was false. (Gov.

Exhibits 389-90)

       The wage information on Mitchell’s tax return and the withholding amounts

therein are strikingly similar to other tax returns in this case, including Maxwell 2001,

Richardson 2001, Cammon 2001, Nauden 2001, and Richardson 2002.

       During the March 2003 search of Defendant’s residence, the police discovered

Mitchell’s identifiers in Defendant’s handwriting (Gov. Exhibit 161), identifiers for the

dependents listed on this return written in Defendant’s handwriting (Gov. Exhibit 164),

Earned Income Credit form for Mitchell in Defendant’s handwriting (Gov. Exhibit 194),

and information regarding Mitchell’s 2001 return in Defendant’s handwriting. (Gov.

Exhibit 194).

       During the April 2004 search of Defendant’s residence, a steno book was found

which contained references to the dependents claimed on the return. (Gov. Exhibit 220)

Davie testified that the information written in this book was in Defendant’s handwriting.

       The refund on this return was directed to and deposited into an account in the

name of IJN/JUMP Foundation at National City Bank. The only signatory on the

account was Defendant. (Gov. Exhibits 476)




                                             46
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 47 of 66. PageID #: 1295




       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 41.

       In Count 42, Defendant filled-out a federal tax return and electronically filed it

for tax year 2001 under the name of Sheree A. Allen. (Gov. Exhibit 338) Allen testified

that Davie approached her about getting her tax returns for 2001 and 2002 prepared.

(Transcript, Vol. 7, pp. 1118-19) Davie stated that Defendant would be preparing the

returns. Id. Allen provided Davie with her W-2’s for those years, her Social Security

number, daughter’s Social Security number and birth date. Id. at 1120, 1128. Allen

testified that she did not sign the returns and given a return from Davie of $1,800 when

the actual refund claimed was $4,982. Id. at 1121, 1125. Upon review of the filed return,

Allen noted that one of the dependants listed was false and one of the employers was

false. Id. at 1123-24.

       During the March 2003 search of Defendant’s residence, the police discovered a

printout of the state return filed on behalf of Allen (Gov. Exhibit 147) and dependent

information for the return written in Defendant’s handwriting (Gov. Exhibit 164).

       During the April 2004 search of Defendant’s residence, a steno book was found

which contained references to the dependents claimed on the return. (Gov. Exhibit 220)

Davie testified that the information written in this book was in Defendant’s handwriting.

       The refund on this return was directed to and deposited into an account in the

name of IJN/JUMP Foundation at National City Bank. The only signatory on the

account was Defendant. (Gov. Exhibits 476-77)




                                            47
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 48 of 66. PageID #: 1296




        It is additionally noted that Allen received a letter from Defendant after she had

been interviewed by the IRS. (Gov. Exhibit 449) That letter indicates Defendant’s

knowledge of the discrepancy between the amount claimed on the 2001 return and the

amount given to Allen.

        Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 42.

        In Count 43, a federal tax return was electronically filed for tax year 2001 using

the name and personal identifiers of Curtis Birt. (Gov. Exhibit 339) The IRS determined

that the employer information contained on the return was false. (Gov. Exhibits 392-93)

        The wage information on Birt’s tax return and the withholding amounts therein

are strikingly similar to other tax returns in this case, including Richardson 2000, Davie

2001, Dohn Bradley 2001, Dion Bradley 2001, Calliens 2001, Chappell 2001, Davie

2002, and Hollis 2002. Additionally, the address listed on the return is similar to other

returns at issue in this case.

        During the March 2003 search of Defendant’s residence, the police discovered

Birt’s name on a list in Defendant’s handwriting (Gov. Exhibit 164). During the April

2004 search of Defendant’s residence, a steno book was found which contained

references to the dependents claimed on the return. (Gov. Exhibit 220) Davie testified

that the information written in this book was in Defendant’s handwriting.

        The refund on this return was directed to and deposited into an account in the

name of Rochelle Enterprises LLP at Fifth Third Bank. The only signatory on the

account was Defendant. (Gov. Exhibits 482)




                                             48
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 49 of 66. PageID #: 1297




       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 43.

       In Count 44, a federal tax return was electronically filed for tax year 2001 using

the name and personal identifiers of Cheryl Head. (Gov. Exhibit 340) The IRS

determined that the employer information contained on the return was false. (Gov.

Exhibits 394-95) According to the tax return filed by Defendant for Head, her wages

totaled $12,751.00 and withholding credits amounted to $448.00; however, IRS records

indicate that Head actually received an income of $5,601.00 for the year of 2001 and had

withholding credits of only $145.00. (Gov. Exhibit 395)

        During the March 2003 search of Defendant’s residence, the police discovered

copies of Head’s fraudulent state and municipal tax returns for 2001 (Gov. Exhibit 145)

and identifiers for the dependents listed on this return written in Defendant’s handwriting

(Gov. Exhibit 164).

       During the April 2004 search of Defendant’s residence, a steno book was found

which contained references to the dependents claimed on the return. (Gov. Exhibit 220)

Davie testified that the information written in this book was in Defendant’s handwriting.

       The refund on this return was directed to and deposited into an account in the

name of Fenetre, Inc. at National City Bank. The only signatory on the account was

Defendant. (Gov. Exhibits 460, 472-473)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 44.




                                            49
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 50 of 66. PageID #: 1298




       In Count 45, a federal tax return was electronically filed for tax year 2001 for

Kathie Davie. (Gov. Exhibit 341) The IRS determined that the employer information

contained on the return was false. (Gov. Exhibits 396-97)

       The wage information on Davie’s tax return and the withholding amounts therein

are strikingly similar to other tax returns in this case, including Richardson 2000, Birt

2001, Dohn Bradley 2001, Dion Bradley 2001, Calliens 2001, Chappell 2001, Davie

2002, and Hollis 2002.

       During the March 2003 search of Defendant’s residence, the police discovered

Davie’s Social Security number and account information where the refund was directed

in Defendant’s handwriting. (Gov. Exhibits 120 & 145) Copies of Davie’s 2001 state

tax return, and 2001 Earned Income Credit schedule from her federal tax return were also

found. (Gov. Exhibit 199)

       The refund on this return was directed to and deposited into an account in Kathie

Davie’s personal account at Fifth Third Bank. (Gov. Exhibits 462 & 485-487)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 45.

       In Count 46, a federal tax return was electronically filed for tax year 2001 using

the name and personal identifiers of Joey Richardson. (Gov. Exhibit 342) The IRS

determined that the employer information contained on the return was false. (Gov.

Exhibits 398-99) Additionally, Richardson testified that the information given on the

return was incorrect.




                                             50
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 51 of 66. PageID #: 1299




       The wage information on Richardson’s tax return and the withholding amounts

therein are strikingly similar to other tax returns in this case, including Maxwell 2001,

Mitchell 2001, Cammon 2001, Nauden 2001, and Richardson 2002.

       During the March 2003 search of Defendant’s residence, the police discovered

Mitchell’s name on a handwritten list in Defendant’s handwriting (Gov. Exhibit 164).

During the April 2004 search of Defendant’s residence, a steno book was found which

contained references to the dependents claimed on the return. (Gov. Exhibit 220) Davie

testified that the information written in this book was in Defendant’s handwriting.

       The refund on this return was directed to and deposited into an account in the

name of IJN/JUMP Foundation at National City Bank. The only signatory on the

account was Defendant. (Gov. Exhibits 476)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 46.

       In Count 47, a federal tax return was electronically filed for tax year 2001 using

the name and personal identifiers of Eric Cammon. (Gov. Exhibit 343) The IRS

determined that the employer information contained on the return was false. (Gov.

Exhibits 400-401)

       During the March 2003 search of Defendant’s residence, the police discovered a

printout of Cammon’s fraudulent Earned Income Credit schedule (Gov. Exhibit 153) and

Cammon’s name on a handwritten list in Defendant’s handwriting (Gov. Exhibit 164).

During the April 2004 search of Defendant’s residence, a steno book was found which




                                             51
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 52 of 66. PageID #: 1300




contained references to the dependents claimed on the return. (Gov. Exhibit 220) Davie

testified that the information written in this book was in Defendant’s handwriting.

       The refund on this return was directed to and deposited into an account in the

name of Fenetre, Inc. at National City Bank. The only signatory on the account was

Defendant. (Gov. Exhibits 452 & 472)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 47.

       In Count 48, a federal tax return was electronically filed for tax year 2001 using

the name and personal identifiers of Dohn Bradley. (Gov. Exhibit 344) The IRS

determined that the employer information contained on the return was false. (Gov.

Exhibits 402-403)

       The wage information on Bradley’s tax return and the withholding amounts

therein are strikingly similar to other tax returns in this case, including Richardson 2000,

Birt 2001, Davie 2001, Dion Bradley 2001, Calliens 2001, Chappell 2001, Davie 2002,

and Hollis 2002.

       During the April 2004 search of Defendant’s residence, a steno book was found

which contained references to the dependents claimed on the return. (Gov. Exhibit 220)

Davie testified that the information written in this book was in Defendant’s handwriting.

       The refund on this return was directed to and deposited into an account in the

name of IJN/JUMP Foundation at National City Bank. The only signatory on the

account was Defendant. (Gov. Exhibits 464, 476-77)




                                             52
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 53 of 66. PageID #: 1301




       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 48.

       In Count 49, a federal tax return was electronically filed for tax year 2001 using

the name and personal identifiers of Twila Nauden. (Gov. Exhibit 345) The IRS

determined that the employer information contained on the return was false. (Gov.

Exhibits 404-405) Additionally, Nauden testified that the information given on the return

was incorrect. (Transcript, Vol. 7, pp. 1077-79) Nauden also testified that the

information regarding dependants on this return was false due to the fact that she has no

children or other dependents. Id. at 1071.

       Nauden testified that she was familiar with Defendant through Defendant’s

daughter, Cleo. Id. at 1072. Cleo told Nauden that her mother did taxes and would do

Nauden’s return free of charge. Id. Nauden provided Defendant with her W-2 forms for

2001 so that Defendant could fill-out her tax forms. Id. at 1074. Nauden never saw a

copy of the forms and never received a refund from the IRS. Id. at 1075. Defendant

went so far as to enter into a three-way call with Nauden and the IRS to inquire about

Nauden’s refund. Id. at 1075-76.

       The wage information on Nauden’s tax return and the withholding amounts

therein are strikingly similar to other tax returns in this case, including Maxwell 2001,

Mitchell 2001, Richardson 2001, Cammon 2001, and Richardson 2002.

       During the March 2003 search of Defendant’s residence, the police discovered the

original W-2 forms given by Nauden to Defendant. (Gov. Exhibit 152) Additionally,

during the April 2004 search of Defendant’s residence, a steno book was found which




                                             53
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 54 of 66. PageID #: 1302




contained references to the dependents claimed on the return. (Gov. Exhibit 220) Davie

testified that the information written in this book was in Defendant’s handwriting.

       The refund on this return was directed to and deposited into an account in the

name of Fenetre, Inc. at National City Bank. The only signatory on the account was

Defendant. (Gov. Exhibits 345 & 472)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 49.

       In Count 50, a federal tax return was electronically filed for tax year 2001 using

the name and personal identifiers of Dion Bradley. (Gov. Exhibit 346) The IRS

determined that the employer information contained on the return was false. (Gov.

Exhibits 406-407) Additionally, Bradley testified that he did not file a tax return for the

year 2001. (Transcript, Vol. 7, p. 1061) Bradley also testified that the dependants named

on the return were incorrect. (Transcript, Vol. 7, p. 1063)

       The wage information on Bradley’s tax return and the withholding amounts

therein are strikingly similar to other tax returns in this case, including Richardson 2000,

Birt 2001, Davie 2001, Dohn Bradley 2001, Calliens 2001, Chappell 2001, Davie 2002,

and Hollis 2002.

       During the March 2003 search of Defendant’s residence, the police discovered

Bradley’s name and personal identifiers on a list in Defendant’s handwriting (Gov.

Exhibit 196) and printouts of Bradley’s fraudulent Earned Income Credit form.




                                             54
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 55 of 66. PageID #: 1303




       The refund on this return was directed to and deposited into an account in the

name of Rochelle Enterprises at Fifth Third Bank. The only signatory on the account

was Defendant. (Gov. Exhibits 465 & 483-84)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 50.

       In Count 51, a federal tax return was electronically filed for tax year 2001 using

the name and personal identifiers of Wendy Calliens. (Gov. Exhibit 347) The IRS

determined that the employer information contained on the return was false. (Gov.

Exhibits 408-09) Additionally, Calliens testified that she has never filed a tax return.

(Transcript, Vol. 7, p. 1047) She also testified that she did not work for the employers

reported on the return for 2001. (Transcript, Vol. 7, pp. 1049-50) Finally, Calliens

testified that while in the Ohio Reformatory for Women, she met up with Defendant, who

confessed that she had filed a tax return for Calliens, unbeknownst to her. (Transcript,

Vol. 7, pp. 1051-52)

       The wage information on Calliens’ tax return and the withholding amounts

therein are strikingly similar to other tax returns in this case, including Richardson 2000,

Birt 2001, Davie 2001, Dohn Bradley 2001, Dion Bradley 2001, Chappell 2001, Davie

2002, and Hollis 2002.

       During the March 2003 search of Defendant’s residence, the police discovered a

printout of filing instructions for Calliens’ 2001 return (Gov. Exhibit 158) and Calliens’

taxpayer identifier and that of the dependants claimed on the 2001 return, notes from the

return of information needed in Defendant’s handwriting (Gov. Exhibit 159). During the




                                             55
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 56 of 66. PageID #: 1304




April 2004 search of Defendant’s residence, an address book, which contained Calliens’

name was found made out in Defendant’s handwriting. (Gov. Exhibit 221)

       The refund on this return was directed to an account in the name of Rochelle

Enterprises at Fifth Third Bank. The only signatory on the account was Defendant.

(Gov. Exhibits 347, 466 & 482)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 51.

       In Count 52, a federal tax return was electronically filed for tax year 2001 using

the name and personal identifiers of Kenneth Chappell. (Gov. Exhibit 348) The IRS

determined that the employer information contained on the return was false. (Gov.

Exhibits 410-1) Additionally, Chappell testified that he had not worked for

approximately 20 years. (Transcript, Vol. 7, p. 1028)

       The wage information on Chappell’s tax return and the withholding amounts

therein are strikingly similar to other tax returns in this case, including Richardson 2000,

Birt 2001, Davie 2001, Dohn Bradley 2001, Dion Bradley 2001, Calliens 2001, Davie

2002, and Hollis 2002.

       During the March 2003 search of Defendant’s residence, the police discovered a

printout of the electronic filing instructions for Chappell’s 2001 filed tax return (Gov.

Exhibit 158), Chappell’s personal identifiers in Defendant’s handwriting (Gov. Exhibit

159), and printouts of electronic filing acknowledgement and the Earned Income Credit

form in Defendant’s handwriting. (Gov. Exhibit 170)




                                             56
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 57 of 66. PageID #: 1305




       The refund on this return was directed to and deposited into an account in the

name of IJN/JUMP Foundation at National City Bank. The only signatory on the

account was Defendant. (Gov. Exhibits 348, 467, & 476)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 52.

       In Count 53, a federal tax return was electronically filed for tax year 2001 using

the name and personal identifiers of Donna Curry. (Gov. Exhibit 349) The IRS

determined that the employer information contained on the return was false. (Gov.

Exhibits 412-13) Additionally, Curry testified that she had not filed a tax return since she

was 18, and she is now 39, and had not worked in years. (Transcript, Vol. 7, pp. 1036 &

1039) Curry also testified that although the return showed that she had a dependant

named James, she had no sons, only daughters. Id. at 1039.

       The wage information on Curry’s tax return and the withholding amounts therein

are strikingly similar to another tax return in this case, Wendy Smith Stevens for 2001.

       During the March 2003 search of Defendant’s residence, the police discovered

a correspondence from the IRS regarding Curry’s return addressed to Donna Curry at

3512 Chelton Road, Shaker Heights, Ohio, an address that is non-existent. (Gov.

Exhibits 192 & 489) Additionally, during the April 2004 search of Defendant’s

residence, the police discovered the information regarding the claimed dependants on

Curry’s return in Defendant’s handwriting (Gov. Exhibit 220).




                                            57
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 58 of 66. PageID #: 1306




       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 53.

       In Count 54, a federal tax return was electronically filed for tax year 2001 using

the name and personal identifiers of Wendy Smith-Stevens. (Gov. Exhibit 350) The IRS

determined that the wage and withholding information contained on the return was false.

(Gov. Exhibit 414) Additionally, Smith-Stevens testified that she had not worked during

the year of 2001 and had not filed a federal income tax return for 2001. On the false tax

return was also a claim that Smith had received just over $10,000 in rental income which

Smith Stevens testified she never received. (Transcript, Vol. 7, p. 1020-23)

       The wage information on Smith’s tax return and the withholding amounts therein

are strikingly similar to another tax return in this case, Curry 2001. (Gov. Exhibit 349)

       During the March 2003 search of Defendant’s residence, the police discovered a

benefits statement from the Social Security Administration, including Smith-Steven’s

Social Security Number, addressed to Smith at 3512 Chelton Road, a non-existent

address (Gov. Exhibit 121) and Smith-Steven’s name and amount of the refund claimed

on the false return in Defendant’s handwriting. (Gov. Exhibit 171)

       The refund on this return was directed to and deposited into an account in the

name of Rochelle Enterprises at Fifth Third Bank. The only signatory on the account

was Defendant. (Gov. Exhibits 349-50, 469, & 482)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 54.




                                            58
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 59 of 66. PageID #: 1307




       In Count 55, a federal tax return was electronically filed for Kathy Davie for the

tax year 2002. (Gov. Exhibit 351) Davie testified that the dependents and the income

claimed on the return were false. (Transcript, Vol. 3, p. 433) Additionally, the IRS

verified that the wage and withholding information was false. (Gov. Exhibits 415 & 416)

Davie also testified that Defendant prepared the tax return and signed Davie’s name at the

bottom of the return. (Transcript, Vol. 3, pp. 433-34).

       The wage information on Davie’s tax return and the withholding amounts therein

are strikingly similar to other tax returns in this case, including Cammon 2000, Birt 2001,

Davie 2001, Dohn Bradley 2001, Dion Bradley 2001, Calliens 2001, Chappell 2001, and

Richardson 2002.

       During the March 2003 search of Defendant’s residence, the police discovered

information from the 2002 return, including the refund, amount owed to taxpayer, and

“profit”, all in Defendant’s handwriting. (Gov. Exhibit 181) The police also found

information regarding the return in Defendant’s handwriting, including Davie’s Social

Security number and the bank account the refund was to be directed to and printouts of

the documents relating to the return (Gov. Exhibits 187 & 199)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 55.

       In Count 56, a federal tax return was electronically filed for tax year 2002 using

the name and personal identifiers of Cheryl Head. (Gov. Exhibit 352) The IRS

determined that the employer information contained on the return was false. (Gov.

Exhibits 417 & 418)




                                            59
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 60 of 66. PageID #: 1308




       During the March 2003 search of Defendant’s residence, the police discovered

printouts of documents related to Head’s 2002 electronically filed tax return with

handwritten information and bank account information (Gov. Exhibit 200), other

handwritten information regarding the false return, including Head’s name, amount of

refund claimed, amount due to taxpayer, and amount of “profit”(Gov. Exhibit 181), and

handwritten identifier information for the dependants claimed on the false return (Gov.

Exhibit 164). During the April 2004 search of Defendant’s Chelton Road address, the

police discovered the “steno book” which contained identifier information on the

dependants claimed on this return. (Gov. Exhibit 220) Davie testified that the above

documents were all in Defendant’s handwriting.

       The refund on this return was directed to an account at National City Bank in the

name of Turp’s Megabyte Café. The only signatory on the account was Defendant.

(Gov. Exhibits 352, 461, & 478)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 56.

       In Count 57, a federal tax return was filed for the year 2002 using the name and

personal identifiers of Andrew Hollis, III. Hollis testified that he did not file a 2002 tax

return. (Transcript, Vol. 8, p. 1159) Upon review of the filed return, Hollis testified that

all the information on the return was correct except the wages earned and the return

requested. Id. at 1161.

       The wage and withholding amounts are similar to other tax returns in issue,

including Richardson 2000, Birt 2001, Davie 2001, Dohn Bradley 2001, Dion Bradley




                                             60
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 61 of 66. PageID #: 1309




2001, Calliens 2001, Chappell 2001, and Davie 2002. Additionally, Hollis testified that

he gave his personal identification information and that of his children to his girlfriend,

Judy Elersic, first for the purpose of filing a return and later testifying that it was for

others to use his dependents. Id. at 1158, 1162. Hollis stated that he did receive money

from Elersic for the return in the amount of $1,600 when he thought the amount was to be

$3,000. Id. at 1163.

        The Court notes that Hollis testified that he never had a conversation with

Defendant about the return and only received money from Elersic. Id. at 1163.

Additionally, the Court did not find Hollis to be a credible witness. Even though his

passport photos were found in Defendant’s home, he stated that they were taken for the

purpose of a vacation in Jamaica. Id. at 1164. Hollis also provided his personal

information for the purpose of preparing a federal tax return even though, through his

own testimony, he had not worked in 2002 and indicated that he had not worked for a

number of years. Id. at 1157-58.

        Based on the above, the Court does not find that the Government proved beyond a

reasonable doubt that Defendant violated 18 U.S.C. § 287 for this Count, and thus finds

her NOT GUILTY of Count 57.

        In Count 58, a federal tax return was electronically filed for tax year 2002 using

the name and personal identifiers of Joey M. Richardson. (Gov. Exhibit 354) The IRS

determined that the wage and withholding information contained on the return were false.

(Gov. Exhibits 421 & 422) Additionally, Richardson testified that he has never filed a

federal tax return, that the employers and wages listed are false, and that the dependants

listed on the return are false. (Transcript, Vol. 7, p. 1105)




                                               61
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 62 of 66. PageID #: 1310




       The wage information on Richardson’s tax return and the withholding amounts

therein are strikingly similar to other tax returns in this case, including Maxwell 2001,

Mitchell 2001, Richardson 2001, Cammon 2001 and Nauden 2001.

       During the March 2003 search of Defendant’s residence, the police discovered

printouts of documents relating to the false return (Gov. Exhibit 197), printouts of refund

requests and inquiries to the IRS regarding this return (Gov. Exhibit 195), Richardson’s

name on a list in Defendant’s handwriting (Gov. Exhibit 164), information relating to the

return in Defendant’s handwriting, including Richardson’s name, amount of refund per

return, amount owed “for kids”, and amount of “profit.” (Gov. Exhibit 181) The police

also found other information in Defendant’s handwriting that listed Richardson’s name,

Social Security number, refund claimed, and account that the refund had been directed to

(Gov. Exhibit 187). The refund on this return was directed to an account in the name of

Davie Tax Service at Key Bank. The only signatory on the account was Davie. (Gov.

Exhibits 354, 454, & 479)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 58.

       In Count 59, a federal tax return was electronically filed for tax year 2002 using

the name and personal identifiers of Sheree A. Allen. (Gov. Exhibit 355) The IRS

determined that the wage and withholding information contained on the return was false.

(Gov. Exhibit 423) Allen testified that Defendant prepared her federal tax returns for the

years 2001 and 2002. (Transcript, Vol. 7, pp. 1118-19) Allen never received a copy of

the prepared returns. Id. at 1120. Additionally, one of the individuals listed as a




                                             62
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 63 of 66. PageID #: 1311




dependant was not one of Allen’s valid dependants. Id. at 1126. The Government also

presented a letter from Defendant to Allen regarding her statements. (Gov. Exhibit 449)

This letter demonstrates Defendant’s awareness of the falsely filed return and refund.

       During the March 2003 search of Defendant’s residence, the police discovered

Allen’s June 19, 2002 pay check and earning statement (Gov. Exhibit 119), information

written in Defendant’s handwriting regarding the false dependant (Gov. Exhibit 162),

information regarding Allen’s 2002 return in Defendant’s handwriting (Gov. Exhibit

181), a printout of the electronically filed return for Allen for 2002 (Gov. Exhibit 198),

and reference numbers and phone number of the Internet website refund inquiry dated

February 20, 2003 regarding Allen’s return (Gov. Exhibit 199). During the April 2004

search of Defendant’s Chelton Road residence, police also found the “steno book”

containing information for the false dependant from Allen’s 2002 return in Defendant’s

handwriting. (Gov. Exhibit 220)

       The refund on this return was directed to a Key Bank account in the name of

Davie Tax Service. (Gov. Exhibits 355, 459, & 479) Although Allen was given a refund

for her return from Davie, it was only for $1,300 when the actual refund was $5,180,

which Allen later received from the IRS. (Gov. Exhibit 355) (Transcript, Vol. 7, pp. 1121

& 1127)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 59.

       In Count 60, a federal tax return was electronically filed for tax year 2002 using

the name and personal identifiers of Michael Allen. (Gov. Exhibit 356) The IRS




                                             63
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 64 of 66. PageID #: 1312




determined that the wage and withholding information contained on the return was false.

(Gov. Exhibits 424) The dependants named on the return were the same as those named

on Curtis Birt’s return for 2001. (Gov. Exhibit 339)

       During the March 2003 search of Defendant’s residence, the police discovered a

W-2 forms in Michael Allen’s name for 2002 (Gov. Exhibits 143 & 144) During the

April 2004 search of Defendant’s residence, the police discovered the “steno book” with

references to dependants claimed on the return in Defendant’s handwriting. (Gov.

Exhibit 220)

       The refund on this return was directed to and deposited into an account in the

name of Davie Tax Service at Key Bank. The only signatory on the account was Davie.

(Gov. Exhibits 356, 471, 480, 481)

       Based on the evidence presented, the Court finds that the Government proved

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 287, and thus finds her

GUILTY of Count 60.

       Count 61 of the Indictment charges that between on or about March 19, 2001,

and on or about February 18, 2003, in the Northern District of Ohio, Eastern Division,

Defendant, along with another, did knowingly use, cause to be used, and aid and abet the

use, without lawful authority, a means of identification of another person with the intent

to commit unlawful activity that constitutes a violation of federal law, or that constitutes

a felony under any applicable state or local law, such conduct affecting interstate or

foreign commerce, including the names and Social Security numbers of Joseph M.

Richardson, Wendy Calliens, Kenneth Chappell, Donna S. Curry, Wendy A. Smith and

Andrew Hollis III used by Defendant to submit fraudulent claims for refunds to the IRS




                                             64
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 65 of 66. PageID #: 1313




without the named person’s knowledge or consent in violation of 18 U.S.C. § 1028(a)(7)

and 2.

         In order to find Defendant guilty on Count 61, the Government must prove

beyond a reasonable doubt that Defendant violated 18 U.S.C. § 1028 (a)(7). That statute

states in pertinent part:

         (a) Whoever, in a circumstance described in subsection (c) of this section

         (7) knowingly transfers, possesses, or uses, without lawful authority, a
         means of identification of another person with the intent to commit, or to
         aid or abet, or in connection with, any unlawful activity that constitutes a
         violation of Federal law, or that constitutes a felony under any applicable
         State or local law; [has committed an offense against the United States.]


         Based on the facts discussed in Counts 38 and 46 above, it is evident that

Defendant knowing used, without lawful authority to do so, Joseph M. Richardson’s

Social Security number to fraudulently file federal tax returns for the years 2000 and

2001, thus violating Federal law.

         Based on the facts discussed in Count 51 above, it is evident that Defendant

knowingly used, without lawful authority to do so, Wendy Calliens’ Social Security

number to fraudulently file a federal tax return for the year 2001, thus violating Federal

law.

         Based on the facts discussed in Count 52 above, it is evident that Defendant

knowingly used, without lawful authority to do so, Kenneth Chappell’s Social Security

number to fraudulently file a federal tax return for the year 2001, thus violating Federal

law.

         Based on the facts discussed in Count 53 above, it is evident that Defendant

knowingly used, without lawful authority to do so, Donna S. Curry’s Social Security



                                              65
Case: 1:05-cr-00303-JRA Doc #: 295 Filed: 06/08/07 66 of 66. PageID #: 1314




number to fraudulently file a federal tax return for the year 2001, thus violating Federal

law.

       Based on the facts discussed in Count 54 above, it is evident that Defendant

knowingly used, without lawful authority to do so, Wendy A. Smith’s Social Security

number to fraudulently file a federal tax return for the year 2001, thus violating Federal

law.

       Based on the facts discussed in Count 57 above, it is evident that Defendant

knowingly used, without lawful authority to do so, the Social Security number of Andrew

Hollis III, to fraudulently file a federal tax return for the year 2002, thus violating Federal

law.

       The evidence presented in the Counts discussed above demonstrates that the

Government proved beyond a reasonable doubt that Defendant violated 18 U.S.C. § 1028

(a)(7), and thus the Court finds Defendant GUILTY of Count 61.

                                      CONCLUSION

       For the reasons listed above, the Court finds Defendant GUILTY of Counts 1

through 9, 11 through 16, 21, 26 through 56, and 58 through 61. The Court finds

Defendant NOT GUILTY of Counts 22 through 25 and Count 57. Count 10 was

dismissed on motion by the Government.



       So ordered.



                                                   ____s/ Judge John R. Adams_______
                                                   JUDGE JOHN R. ADAMS
                                                   UNITED STATES DISTRICT COURT




                                              66
